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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                           Case No. 22-cr-00083-JSW-1
                                                        Plaintiff,
                                   8
                                                                                             ORDER REGARDING UPCOMING
                                                 v.                                          CRIMINAL PROCEEDINGS AND
                                   9
                                                                                             REQUIRING JOINT REPORT
                                  10     ALAN RENE CAMACHO,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          In light of the continuing public health emergency caused by the novel coronavirus disease

                                  14   (COVID-19), criminal proceedings have been conducted by telephone or by videoconference

                                  15   pursuant to the CARES Act. The Court has been holding limited in-court proceedings for

                                  16   specified proceedings: change of plea, sentencing, admission/disposition of Form 12s, and

                                  17   evidentiary hearings. The need to follow social distancing protocols will continue to limit the

                                  18   number of in-custody defendants that may be produced in court and the number of cases and

                                  19   people that can be accommodated in courtrooms. Accordingly, some changes of plea,

                                  20   sentencings, admissions/dispositions of Form 12s and evidentiary hearings may still need to be

                                  21   conducted by telephone or videoconference.

                                  22          Additionally, because there is greater need for the telephone conference capabilities than

                                  23   there are resources available, the Court will not hold status or trial (and motions) setting

                                  24   conferences over the telephone. Instead, the Court will decide those matters on the papers, or if

                                  25   defendant waives personal appearance, the Court will hold a telephone conference at a date and

                                  26   time mutually agreeable to counsel for both sides.

                                  27          To assist the Court in scheduling an appropriate proceeding, the Court requests the parties

                                  28   file a joint status report to provide the information set forth below. Defense counsel shall confer
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                                   1   with the defendant prior to submitting this joint status report. If the parties intend to request a

                                   2   continuance, they shall clearly state that in the caption of the report and shall submit a

                                   3   proposed order for the Court’s consideration.

                                   4           A.     Permissible In-Court Proceedings:

                                   5           1.     ___Guilty plea

                                   6           2.     ___Sentencing

                                   7           3.     ___Form 12 Admission

                                   8           4.     ___Form 12 Disposition

                                   9           5.     ___Evidentiary Hearing (for a motion to suppress, supervised release violation

                                  10   hearing, or other hearing requiring witness testimony)

                                  11           If a guilty plea, is in-custody defendant willing to waive disclosure of the PSR before plea

                                  12   is entered so that plea may be taken at time sentence will be imposed? Yes ___ No___
Northern District of California
 United States District Court




                                  13           If yes, stipulated date for plea/sentencing. ________________

                                  14           If a Form 12 admission, will defendant be ready to be sentenced at the same time? Yes___

                                  15   No___

                                  16           If no, is there any reason why the admission should not be continued to a time when the

                                  17   defendant is ready to be sentenced? No___ Yes ___ (please explain)

                                  18           For any of the proceedings numbered 1–4, will the defendant waive his/her right to be

                                  19   present in the courtroom and proceed via telephone conference? Yes___ No___

                                  20           For any of the proceedings numbered 1–4, does the defendant wish to appear personally in

                                  21   court even if a further continuance of the proceeding may be required? Yes___ No___

                                  22           B.     Other Proceedings:

                                  23           1.     ___Status Conference

                                  24           2.     ___Trial or Motions Setting Conference

                                  25           3.     ___ Other (please specify                                                    )

                                  26           For matters other than change of plea, sentencing, Form 12 admission/disposition, or

                                  27   evidentiary hearing, the Court expects that most issues can be resolved by stipulation of the

                                  28   parties, or by administrative motion which can be decided on the papers, and expects to proceed in
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                                   1   that fashion, for in-custody defendants. However, for in-custody defendants who wish to waive

                                   2   their appearance, and for out-of-custody defendants, the Court will conduct a telephonic status or

                                   3   setting conference.

                                   4           Is a telephonic status conference desired? Yes ___ No___

                                   5           Will any in-custody defendant waive appearance? Yes ___ No___

                                   6           Please file a joint report with the responses to these questions by 9:00 a.m. on April 4,

                                   7   2022.

                                   8   IT IS SO ORDERED.

                                   9   Dated: March 30, 2022

                                  10                                                    ______________________________________
                                                                                        JEFFREY S. WHITE
                                  11                                                    United States District Judge
                                  12
Northern District of California
 United States District Court




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